                           Case 2:12-cr-00048-MHT-TFM Document 572 Filed 11/22/13 Page 1 of 6
AO 2450          (Rev. 09/I1) Judgment in a Criminal Case
vi               Sheet I




                                             UNITED STATES DISTRICT COURT
                                                            MIDDLE DISTRICT OF ALABAMA

                UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                      V.

                            MICHAEL SMITH                                        Case Number: 2:12cr48-01-MHT

                                                                                 USM Number: 13900-002

                                                                                  Christine A. Freeman, Laronda Martin, Stephen Ganter
                                                                                 Deieiidani's Aitoincy
THE DEFENDANT:
E pleaded guilty to count(s)

E pleaded nolo contendcrc to count(s)
   which was accepted b y the court.
      was fund guilty on CouflL(S)           1,3,5,6,7 and 11-12 of the indictment filed on March 8, 2012
      after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                    Offense Ended              Count

     18 USC 242 and 2                  DEPRIVATION CIVIL RIGHTS; AIDING & ABETTING                         8/4/2010                   1

     18 USC 242                        DEPRIVATION OF CIVIL RIGHTS                                         8/4/2010                   3

     18 USC 1512(b)(3)                 OBSTRUCTION OF JUSTICE - CORRUPTLY PERSUADE                         8/5/2012                   5

     18 USC 1512(k)                    CONSPIRACY TO OBSTRUCT JUSTICE                                      8/5/2010                   6
     18 USC 1519                           OBSTRUCTION OF JUSTICE - FALSIFICATION OF DOC                   8/5/2010                   7
      See additional count(s) on page 2

           i'hc defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of I981.
      The defendant has been found not guilty on count(s)

N(COLITA(S)
                  15 of the Indictment                          is   are dismissed on the motion of the United States.

         Ti is ordered that the defendant mist notify the UniLedStates attorney for this districtwitliin 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitutio
the defendant must notify the court and United States attorney of material changes iii economic circumstances.

                                                                         November 4, 2013
                                                                         Date of Impositoii of Judgment



                                                                         /s/ Myron H. Thompson
                                                                         Signature of Judge


                                                                         MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                         Name oiJudge                               Title of.Iudge


                                                                         November 22, 2013
                                                                         Date
                      Case 2:12-cr-00048-MHT-TFM Document 572 Filed 11/22/13 Page 2 of 6
AO 24513      (Rev. 09/11) Judgment in a CmininaI Case
v              Sheet IA

                                                                                          Judgment Page: 2 of 6
    DEFENDANT: MICHAEL SMITH
    CASENUMBER: 2:12cr48-01-MHT

                                             ADDITIONAL COUNTS OF CONVICTION
    Title & Section               Nature of Offense                       Offense Ended            Count


    18 USC 1512(b)(3)               OBSTRUCTION OF JUSTICE - MISLEADING    8/5/2010                   11
                                      CONDUCT
    18 USC 1512(b)(3)               OBSTRUCTION OF JUSTICE - MISLEADING    8/9/2010                   12
                                       CONDUCT
                        Case 2:12-cr-00048-MHT-TFM Document 572 Filed 11/22/13 Page 3 of 6
AO 24513        (Rcv. 09,11) Judgment in a Cr!mlnaL Cisc
V1              SLicI 2 - ¶n1prIsor1mCfl

                                                                                                                             Judgment Page. 3 of 6
     DEFENDANT: MICHAEL SMITH
     CASE NUMBER: 2:12cr48-01-MHT



                                                                      IMPRISONMENT

             The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     toaI term of:
     360 Months. The term consist of 360 months as to counts 1 and 3 and 240 months as to counts 5, 6, 7, 11 and 12, all such
     terms to run concurrently.




         Wf The court makes the following recommendations to the Bureau of Prisons:

     The court recommends that the defendant be designated to a facility where mental health treatment is available.




             The defendant is remanded to the custody of the United States Marshal.

         E The defendant shall surrender to the United States Marshal for this district:

             E at                                          El a. m.    L p.m,          on               -

                as notified by the United States Marshal.

         E The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  before                   on                  -          --

             E as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Scrvices Office.



                                                                          RETURN

     I have executed this judgment as follows:




             Defendant delivered on                                                              to

     a                                                        with a certified copy of this judgment.



                                                                                                                UNITED STATES MARSHAL



                                                                                  By                        -
                                                                                                        DEPUTY UNITED STATES MARS! IA!.
                          Case 2:12-cr-00048-MHT-TFM Document 572 Filed 11/22/13 Page 4 of 6
AO 24513        (Rev. 09/11) Judgment in a Cnniinal Case
                Sheet 3    Supervised Release

                                                                                                                        Judgment Page: 4 of 6
 DEFENDANT: MICHAEL SMITH
 CASE NUMBER: 2:12cr48-01-MHT
                                                           SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:

  3 Years. The term consist of 3 years as to each of counts 1, 3, 5, 6, 7, 11 and 12, all such terms to run concurrently.
          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not comniii another federal, state or local crime.
 The defendant shall not unlawfull y possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
 substance. The defendant shall subnut to one drug tesL with in 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
         The above drug testing' is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Cheki i/ci,phcablci'.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check. i/applicable.)

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. 'Check i/applicable)

         The defendant shall comply with the requirements of the Sex Offender Rei;istration and Notification Act (42 U.S.C. § 16901, ci seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualif'ing offense. (Check, i/applicable)

 E The defendant shall participate iLl an approved program for domestic violence. Check, i/applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ht'e been adopted by this court as well as with any additional condition
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the pi-obation officer in a manner and frequency directed by the court or probation officer;
   3)      the defendant shall answer truthftilly all inquiries by the probation officer and follow the instructions of the probation officer;
   4)      the defendant shall support his or hei- dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
   6)      the defendant shall notifS' the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   X)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
   9)      the defendant shall not associate with any persons cnaaged in criminal activity and shall not associate with any person convicted ofa
           felony, unless granted permission to do so by the probation officer:
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
  11)      the defendant shall notify the pi-obation officer within seventy-two hours of being arrested or questioned by a law enforcerrent officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent ofa law enforcemnt agency without the
           permission of the court; and

  13)      as directed by the probation officer, the defendant shall noti' third parties of risks that may be occasioned by the defendant's criminal
           record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
                     Case 2:12-cr-00048-MHT-TFM Document 572 Filed 11/22/13 Page 5 of 6
AO 2453       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 5— Criminal Monetary Penalties

                                                                                                                       Judgment Page: 5 of 6
 DEFENDANT: MICHAEL SMITH
 CASE NUMBER: 2:12cr48-01-MHT
                                                 CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                        Fine                                Restitution
 TOTALS             $ 700.00                                         $                                     $ $0.00



       The determination of restitution is deferred until 214/2014 -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

 E The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below, However, pursuant to IS U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                                    Total Loss*                   Restitution Ordered Priority or Percentage




TOTALS                                                                               $0.00                     $0.00


LIII   Restitution amount ordered pursuant to plea agreement $

LIII The defendant niusi pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to IS U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

fl     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       Ej the interest requirement is waived for the        L fine       L restitution.

       LJ the interest requirement for the         D fine    1111111 restitution is modified as follows:



* Findings for the total amount of losses are required under Charters I OOA, 110, I bA, and I 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1 996.
                       Case 2:12-cr-00048-MHT-TFM Document 572 Filed 11/22/13 Page 6 of 6
AO 24513        (Rev. 09/11) Judgment in a Criminal Case
vi              Sheet 6— Schedule of Pa'ymens

                                                                                                                               Judgment Page: 6 of 6
 DEFENDANT: MICHAEL SMITH
 CASE NUMBER: 2:12cr48-01-MHT

                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     V Lump sum payment of S 700.00                             due immediately, balance due

                    not later than                                     , or
                    in accordance C,        fl              D,    0      E, or 71 F be1uw, or

 B     M Payment In begin immediately (may be combined with                    fl C,            D, or        F below); or

 C     7 Payment in equal                              (e g , week/v, monthly. quarterly) installments of S                             over a period of
           --       - --     (e g. moo//is or veoii), to commence              -       - (eg.. 30 or 60 da ys) after the date of this judgment; or

 D     F7 Payment iii equal                   --       (e g. weekir% fnonlhlv quarter/i) installments of S                          over a period of
                             (e g. mon//is or yew-3), to commence        -       -      (e g.. 30 or 60 days after release from imprisonment to a
           term of supervision; or

 E         Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F         Special instructions regarding the payment of criminal monetary penalties:

            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of crirrinal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all paymenLs previously made toward any criminal monetary penalties imposed.




 E Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 o The defendant shall pay the cost of prosecution.

 El The defendant shall pay the following court cost(s):

 L The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
